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 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10

11     DIGITAL SPECTRUM SOLUTIONS,                             Civil Action No. SACV 07-00729-JVS
       INC.,                                                   (RNBx)
12
             Plaintiff,                                        FIRST AMENDED COMPLAINT FOR
13                                                             PATENT INFRINGEMENT; BREACH
                           v.                                  OF CONTRACT; BREACH OF ORAL
14                                                             AGREEMENT; UNFAIR
       EASTMAN KODAK COMPANY AND                               COMPETITION (CAL. BUS. & PROF.
15     ATICO INTERNATIONAL USA, INC.                           § 17200); FRAUDULENT CONCEAL-
       AND DOES 1 THROUGH 20.                                  MENT; INTENTIONAL MISREPRE-
16                                                             SENTATION; NEGLIGENT
             Defendants.                                       MISREPRESENTATION AND
17                                                             FRAUD IN THE INDUCEMENT

18                                       DEMAND FOR JURY TRIAL
                                         ORIGINAL COMPLAINT FILED:
19 1 - - - - - - - - - - - - - - - - - ' JUNE 22, 2007

20
                                               INTRODUCTION
21
       1.    This is an action by Plaintiff DIGITAL SPECTRUM SOLUTIONS, INC.
22
       (hereinafter "DSI") against Defendants EASTMAN KODAK COMPANY (hereinafter
23
       "Kodak"), ATICO INTERNATIONAL USA, INC (hereinafter "Atico"), and Does 1 - 20.
24

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 1                                                    PARTIES

 2     2.     DSI is a corporation with its principal place of business at 17811 Mitchell North,

 3     Irvine, CA 92614. DSI is in the business of manufacturing and selling electronic devices,

 4     including picture frames as claimed in US patent no. 6,826,863 (hereinafter the' 863

 5     patent).

 6     3.     On information and belief, Kodak is a New Jersey corporation with its principal

 7     place of business at 343 State Street, Rochester, NY 14650. Kodak is in the business of

 8     making, offering for sale, distributing and/or selling consumer digital and traditional

 9     capture and display systems. DSI may be without knowledge of the true legal name of

10     Kodak and will amend this Complaint upon obtaining such knowledge.

11     4.     On information and belief, Atico is a Delaware corporation with its principal place

12     of business at 501 South Andrews Avenue, Fort Lauderdale, FL 33301. Among other

13     things, Atico is in the business of designing, manufacturing, importing, and/or

14     distributing digital picture frames. DSI may be without knowledge of the true legal name

15     of Atico and will amend this Complaint upon obtaining such knowledge.

16     5.     On information and belief, Atico is a designer, manufacturer, importer and/or

17     distributor for Kodak with respect to digital picture frames. DSI is informed and

18     believes, and based thereon alleges, that at all times mentioned herein, each of Kodak and

19     Atico was the agent, servant and/or employee, co-venturer and/or co-conspirator ofthe

20     other, and was at all times herein mentioned, acting within the course, scope, purpose,

21     consent, knowledge, ratification and authorization of such agency, employment, joint

22     venture and conspiracy with respect to the acts alleged against them herein.

23     6.     The true names and capacities, whether individual, corporate, associate or

24     otherwise, of defendants DOES 1 through 20, inclusive, are unknown to DSI, which

25     therefore sues said defendants by such fictitious names. DSI will seek leave of this Court


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 1     to amend this Complaint to include their proper names and capacities when they have

 2     been ascertained. DSI is informed and believes, and based thereon alleges, that each of

 3     the fictitiously named defendants participated in and are in some manner responsible for

 4     the acts described in this Complaint and the damage resulting therefrom.

 5     7.    DSI alleges on information and belief that each of the defendants named herein as

 6     DOES 1 through 20, inclusive, performed, participated in, or abetted in some manner, the

 7     acts alleged herein, proximately caused the damages alleged herein below, and are liable

 8     to DSI for the damages and relief sought herein.

 9     8.    DSI alleges on information and belief that, in performing the acts and omissions

10     alleged herein, and at all times relevant hereto, each of the Defendants was the agent and

11     employee of each of the other defendants and was at all times acting within the course

12     and scope of such agency and employment with the knowledge and approval of each of

13     the other Defendants.

14

15                                  JURISDICTION AND VENUE

16     9.    This Court has jurisdiction over the subject matter of this action pursuant to 28

17     U.S.C. §1338 (a) (action arising under an Act of Congress relating to patents) and 28

18     U.S.C. § 1331 (federal question).

19     10.   This Court has an independent basis for jurisdiction pursuant to 28 U.S.C. § 1332

20     because DSI is of diverse citizenship with each of Kodak and Atico, and the matter in

21     controversy exceeds, exclusive of interest and costs, the sum of$75,000.

22     11.   This Court has jurisdiction over the pendent claims herein under the provisions of

23     28 U.S.C. §1338(b) in that said claims are joined with a substantial and related claim

24     under the Patent Laws of the United States, 28 U.S.C. §§ 1331 and 1338.

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 1     12.    This Court has general and specific personal jurisdiction over each of Kodak and

 2     Atico in that each of them is doing business in this judicial district.

 3     13.    Venue is proper in this District pursuant to 28 U.S.C. §§1391(b), and 1400(b).

 4

 5                     FIRST CLAIM FOR RELIEF - PATENT INFRINGEMENT

 6                                (AGAINST KODAK AND ATICO)

 7     14.    DSI repeats and re-alleges the allegations of paragraphs 1 through 13 as if fully set

 8     forth herein.

 9     IS.    United States Letters Patent No. 6,826,863 (hereinafter the '863 patent) entitled

10     "Combination Video Monitor and Detachable Picture Frame" was duly and legally issued

11     on Dec 7, 2004. A true and correct copy of the '863 patent is annexed to and

12     incorporated herein as Exhibit A.

13     16.     DSI is the owner of all right, title and interest in and to the' 863 patent

14     (hereinafter the "Patent Rights"). DSI purchased the Patent Rights from Marquette

15     Commercial Finance, Inc., which obtained them from Pacific Digital Corporation

16     (hereinafter "Pacific Digital"), which obtained them from the inventor, Anthony

17     Goodfellow.

18     17.    Each of Kodak and Atico are engaged in at least one of the manufacture, offer for

19     sale, sale, and/or distribution of at least one model of video monitor/detachable picture

20     frame (collectively digital picture frame) that falls within at least one of claims 7, 10, and

21     14 of the '863 patent.

22     18.    On information and belief, the infringing digital picture frames include at least

23     Kodak model number DPF800.

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     19.    By virtue of these activities, each of Kodak and Atico has infringed and continues

 2   to infringe, contributes to infringement, and/or induces infringement of the '863 patent in

 3   violation of35 U.S.C. §271.

 4   20.    As a direct and proximate result of each of Kodak's and Atico's infringement as

 5   alleged herein, DSI has incurred, and continues to incur, substantial damages in an

 6   amount according to proof at trial. DSI will continue to be so damaged and irreparably

 7   injured unless such infringing activities are enjoined by this Court.

 8   21.    The infringing activities of each of Kodak and Atico have been and continue to be,

 9   willful and deliberate, entitling DSI to increased damages under 35 U.S.C. §284 and

10   making this case exceptional within the meaning of35 U.S.C. §285.

11   22.    Wherefore, DSI requests judgment against each of Kodak and Atico as set forth in

12   the prayer below.

13

14              SECOND CLAIM FOR RELIEF - BREACH OF CONTRACT

15                                        (AGAINST KODAK)

16   23.    DSI repeats and re-alleges the allegations of paragraphs 1 through 22 as if fully set

17   forth herein.

18   24.    On or about April 1,2005, Kodak entered into a Confidential Disclosure

19   Agreement (hereinafter the "CDA"), under which Pacific Digital disclosed to Kodak

20   representatives confidential information, which on information and belief included digital

21   picture frame display and software applications, a road map, and at least one technical

22   implementation (hereinafter the "Confidential Information") A true and correct copy of

23   the CDA is annexed to and incorporated herein as Exhibit B.

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 1     25.    Pacific Digital satisfied each and every one of its duties and responsibilities under

 2     the CDA, and performed all conditions on its part under the CDA, except for any

 3     conditions excused by non-performance or other actions of Kodak.

 4     26.    On information and belief, Kodak breached the CDA by utilizing at least some of

 5     the Confidential Information in development, production, and/or marketing of one or

 6     more of its digital picture frames, including at least Kodak model number DPF800.

 7     27.    DSI purchased all choses in action that Pacific Digital may have against Kodak

 8     pursuant to a foreclosure sale, noticed by the Notice Of Private Foreclosure Sale dated

 9     July 25, 2006. A true and correct copy of the Notice Of Private Foreclosure Sale is

10     annexed to and incorporated herein as Exhibit C.

11

12            THIRD CLAIM FOR RELIEF - BREACH OF ORAL AGREEMENT

13                                          (AGAINST KODAK)

14     28.    DSI repeats and re-alleges the allegations in paragraphs 1 through 27 as set forth

15     fully herein.

16     29.    On or about January of2006, Kodak entered into an oral agreement with DSI at a

17     Las Vegas convention ("the Las Vegas convention"). Under the terms of the oral

18     agreement, Kodak agreed that in exchange for receiving DSI's technology support and

19     information, Kodak would work with DSI to jointly develop and market a digital picture

20     frame, that Kodak was not working with any other party, and did not have any plans to

21     develop its own digital picture frame, and that Kodak would maintain the confidentiality

22     of DSI technology.

23     30.    DSI satisfied all of its requirements under the oral agreement.

24     31.    On information and belief, Kodak breached the oral agreement by disclosing

25     portions ofDSI's technology to third parties, and by developing, producing, and/or


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 1   marketing one or more of its digital picture frames, including at least Kodak model

 2   number DPF800. The one or more competing products were based at least in part on

 3   information provided by DSI under the terms of the oral agreement.

 4   32.       As a direct and proximate result of Kodak's breach of the oral agreement, DSI had

 5   incurred and continues to incur, substantial damages in an amount according to proof at

 6   trial.

 7   33.       Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.

 8

 9   FOURTH CLAIM FOR RELIEF - UNFAIR COMPETITION IN VIOLATION OF

10            CALIFORNIA BUSINESS AND PROFESSIONS CODE SECTION 17200

11                                           (AGAINST KODAK)

12

13   34.       DSI repeats and re-alleges the allegations in paragraphs 1 through 34 as set forth

14   fully herein.

15   35.       The above described wrongful conduct of Kodak, including fraud, negligent

16   misrepresentation and unfair competition as alleged herein, constitutes unlawful, unfair

17   and/or fraudulent business acts or practices under California Business and Professions

18   Code Section 17200 et seq.

19   36.       DSI is informed and believes and thereon alleges that Kodak undertook the acts

20   alleged above willfully, for the purpose of enriching themselves to the detriment ofDSI.

21   37.       DSI is entitled to the restitutionary disgorgement of profits earned by Kodak as a

22   direct and proximate result Kodak's unlawful and/or unfair business acts or practices.

23   38.       Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.

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              FIFTH CLAIM FOR RELIEF - FRAUDULENT CONCEALMENT

 2                                         (AGAINST KODAK)

 3   39.     DSI repeats and re-alleges the allegations in paragraphs 1 through 38 as set forth

 4   fully herein.

 5   40.     Upon information and belief, Kodak concealed from DSI the fact that Kodak was

 6   secretly revealing to vendors at least portions ofDSI's technology.

 7   41.    Upon information and belief, Kodak concealed from DSI the fact that Kodak was

 8   secretly working on a version of its DFP-080 1, and possibly other digital picture frames,

 9   and that it intended to use DSI's support and information in design, manufacture,

10   production and/or marketing of such frames.

11   42.     Upon information and belief, Kodak intended to deceive DSI by concealing the

12   true facts from DSI, and engaging in a ruse to obtain the support ofDSI in order to

13   develop its own digital picture frame product(s).

14   43.     DSI reasonably relied upon Kodak's fraudulent concealment to its detriment,

15   including without limitation, by sharing its technology and information with Kodak,

16   which facilitated Kodak's development, production, and/or marketing of such products.

17   But for Kodak having fraudulently concealed its secret intentions as set forth herein, DSI

18   would not have supported and shared information with Kodak.

19   44.    As a direct and proximate result of Kodak's fraudulent concealment, DSI has

20   incurred, and DSI continues to incur, substantial damages in an amount according to

21   proof at trial.

22   45.     In doing the acts alleged herein, Kodak acted with oppression, fraud and malice,

23   and in willful and conscious disregard of the rights of DSI, so as to entitle DSI to

24   exemplary and punitive damages in an amount according to proof at trial.

25   46.     Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.


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 2         SIXTH CLAIM FOR RELIEF - INTENTIONAL MISREPRESENTATION

 3                                         (AGAINST KODAK)

 4   47.     DSI repeats and re-alleges the allegations in paragraphs 1 through 46 as set forth

 5   fully herein.

 6   48.     As set forth above, Kodak made a number of affirmative misrepresentations to

 7   DSI including, without limitation: (a) denying that it was secretly working on its own

 8   digital picture frame product(s); (b) affirmatively misrepresenting to DSI that Kodak was

 9   not interested in developing and marketing its own digital picture frame product(s); and

10   (c) was instead only interested in working with DSI to develop and/or market a joint

11   product.

12   49.     At all times mentioned herein, DSI was unaware of Kodak's intention to break its

13   promise to DSI and to use the information it obtained in developing, producing and

14   marketing its own digital picture frame product(s).

15   50.     On information and belief, Kodak intended to deceive DSI through its affirmative

16   misrepresentations.

17   51.     DSI reasonably relied upon Kodak's fraudulent conduct to its detriment, including

18   without limitation, by providing support to Kodak and sharing the information relevant to

19   the digital frame products. But for Kodak's misrepresentations, DSI would not have

20   supported Kodak or shared any relevant information with Kodak.

21   52.     As a direct and proximate result of Kodak's intentional misrepresentations, DSI

22   has incurred, and DSI continues to incur, substantial damages in an amount according to

23   proof at trial.

24   53.     Kodak's conduct was committed with willful and conscious disregard of the rights

25   ofDSI, such as to constitute malice, oppression and/or fraud under Section 3294 of the


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     California Civil Code. DSI is therefore entitled to an award of punitive and exemplary
 2   damages against Kodak.

 3   54.      Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.
 4

 5         SEVENTH CLAIM FOR RELIEF - NEGLIGENT MISREPRESENTATION

 6                                          (AGAINST KODAK)

 7   55.      DSI repeats and re-alleges the allegations in paragraphs 1 through 54 as set forth

 8   fully herein.

 9   56.      As set forth above, Kodak made a number of affirmative misrepresentations to

10   DSI including, without limitation: (a) denying that it was secretly working on its own

11   digital picture frame product(s); (b) affirmatively misrepresenting to DSI that Kodak was

12   not interested in developing and marketing its own digital picture frame product(s); and

13   (c) was instead only interested in working with DSI to develop and/or market ajoint

14   product.

15   57.      Kodak's representations to DSI were of material facts, essential to the analysis

16   undertaken by DSI in deciding to enter into an oral agreement and provide support and

17   relevant information to Kodak. DSI would not have acted as it did without such

18   misrepresentations.

19   58.      Kodak made these misrepresentations to DSI without any reasonable ground for

20   believing them to be true.

21   59.      Kodak intended to induce DSI to alter their position based on these misrepresenta-

22   tions.

23   60.      DSI actually relied on Kodak's misrepresentations, to their detriment. Moreover,

24   DSI's reliance on Kodak's misrepresentations were both reasonable and foreseeable.

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 1   61.     As a direct and proximate result of Kodak's negligent misrepresentations, DSI has

 2   incurred, and DSI continues to incur, substantial damages in an amount according to
 3   proof at trial.

 4   62.     Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.
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 6            EIGHTH CLAIM FOR RELIEF - FRAUD IN THE INDUCEMENT

 7                                         (AGAINST KODAK)

 8   63.     DSI repeats and re-alleges the allegations in paragraphs 1 through 62 as set forth

 9   fully herein.

10   64.     On information and belief, Kodak concealed from DSI the fact that Kodak was

11   secretly working on a version of its DFP-0801, and possibly other digital picture frames,

12   and that it intended to use DSI's support and information in design, manufacture,

13   production and/or marketing of such frames.

14   65.     On information and belief, Kodak intended to deceive DSI by concealing the true

15   facts from DSI, that it was engaging in a ruse to obtain the support of DSI in order to

16   develop its own digital picture frame product(s).

17   66.     By reasonably relying on Kodak's fraud, DSI was induced to its detriment,

18   including without limitation, by sharing its technology and information with Kodak,

19   which facilitated Kodak's development, production, and/or marketing of such products.

20   But for Kodak having fraudulently concealed its secret intentions as set forth herein, DSI

21   would not have supported and shared information with Kodak.

22   67.     As a direct and proximate result of Kodak's fraudulent in the inducement, DSI has

23   incurred, and DSI continues to incur, substantial damages in an amount according to

24   proof at trial.

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     68.   In doing the acts alleged herein, Kodak acted with oppression, fraud and malice,

 2   and in willful and conscious disregard of the rights ofDSI, so as to entitle DSI to

 3   exemplary and punitive damages in an amount according to proof at trial.

 4   69.   Wherefore, DSI requests judgment against Kodak as set forth in the prayer below.
 5

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 7                                      PRAYER FOR RELIEF

 8   70.   WHEREFORE, DSI prays as follows:

 9         A) As to each of Kodak and Atico, this Court:

10             1. Find that the' 863 patent has been infringed as alleged herein;

11             2. Award damages adequate to compensate DSI for infringement, but not less

12             than a reasonable royalty for the use made of the claimed inventions, together

13             with interest, including pre-judgment interest, and costs as fixed by the Court;

14             3. Find that infringements have been willful and deliberate;

15             4. Award DSI increased damages, costs, expenses, and attorneys' fees

16             pursuant to 35 U.S.C. §§284 and 285 because of the willful and deliberate

17             nature of the infringements;

18             5. Preliminary and permanently enjoin each of Kodak and Atico and their

19             officers, agents, servants, employees and affiliates, as well as all others in

20             active concert or participation with it as to any of the foregoing, from

21             infringing, contributing to the infringement of, and inducing the infringement

22             of, the '863 patent; and

23             6. Award DSI such other and further relief as this Court may deem just and

24             proper; and

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                             First Amended Complaint Against Kodak and Atico and Does 1-20
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         B) As to Kodak, this Court:

 2             1. Find that Kodak breached the April 1,2005 Confidential Disclosure
 3             Agreement with Pacific Digital, and that DSI holds the chose in action for said
 4             breach; and Award DSI for damages for said breach;
 5             2. Find that Kodak breached the January, 2006 oral agreement with DSI; and

 6             Award DSI for damages for said breach;

 7             3. Find that Kodak engaged in unfair competition against DSI; and Award
 8             DSI for actual and punitive damages for said unfair competition;

 9             4. Find that Kodak engaged in fraudulent concealment against DSI; and

10             Award DSI for actual and punitive damages for said fraudulent concealment;
11             5. Find that Kodak engaged in intentional misrepresentation against DSI; and

12             Award DSI for actual and punitive damages for said intentional

13             misrepresentation;

14             6. Find that Kodak engaged in negligent misrepresentation against DSI; and

15             Award DSI for actual and punitive damages for said negligent

16             misrepresentation; and

17             7. Find that Kodak engaged in fraud in the inducement against DSI; and

18             Award DSI for actual and punitive damages for said negligent

19             misrepresentation; and

20             8. Award DSI such other and further relief as this Court may deem just and

21             proper.

22

23       III

24       III

25       III


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                                            Respectfully submitted,
 2

 3

 4                                          Robert D. Fish (Califi nia tat Bar No. 149771)
                                            Mei Tsang (California State 'ar No. 237959)
 5                                          Fish & Associates, PC
                                            2603 Main Street, Suite 1050
 6                                          Irvine, CA. 92614-6232

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 8   Dated: February2£2008

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 1                                    DEMAND FOR JURY TRIAL

 2          Pursuant to Local Rule 38-1 of the Local Rules of the United States District Court

 3   for the Central District of California, Plaintiff hereby demands a jury trial in this action.
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 5                                            Respectfully submitted,

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11   Dated: February ZI, 2008

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                                               VERIFICATION

  2

  3   I have read the foregoing complaint for: Patent Infringement; Breach Of Contract; Breach

  4   of Oral Agreement;   U!~fair   Competition (Cal. Bus. & Prof. Code § 17200); Fraudulent

  5   Concealment; Intentional Misrepresentation; And Negligent Misrepresentation, and lmow

  6   its contents.

  7

  8   I am an officer of Digital Spectrum Solutions, Inc., a patty to tlus action, and am

  9   authorized to make tlus verification for an on its behalf, and I make this verification for

 10   that reason. I am informed and believe that the matters stated in the foregoing document

 11   are hue of my own knowledge except as to those matters wluch are stated on infonnation

 12   and belief, and as to those matters I believe them to be hue.

 13

 14   I declare under penalty of peljury under the laws of the Uluted States of America that the

 15   foregoing is true and COlTect.

 16

 17   Executed on       2. -   /1 ' 2008, at Orange County, California.

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                                             y(/~
 20                                           Name: ~~OV\ (-l~VS 6(
 21                                           Title:        c.eo 1~Y"e..-'?\d.eAA."T
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